                           NOT FOR PUBLICATION                            FILED
                    UNITED STATES COURT OF APPEALS                        AUG 27 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

UNITED STATES OF AMERICA,                       No. 23-566
                                                D.C. No.
             Plaintiff - Appellee,              3:19-cr-08091-MTL-1
 v.
                                                MEMORANDUM*
BRIAN RIGGS,

             Defendant - Appellant.

                   Appeal from the United States District Court
                            for the District of Arizona
                   Michael T. Liburdi, District Judge, Presiding

                        Argued and Submitted July 11, 2024
                            San Francisco, California

Before: HIGGINSON, MENDOZA, and DESAI, Circuit Judges.**

      Brian Riggs was charged for the killing of his roommate and boyfriend,

Gary Martinez. Following a seven-day trial, the jury returned a guilty verdict for

second-degree murder, in violation of 18 U.S.C. §§ 1153 and 1111. Riggs appeals

his conviction, arguing that the district court erred by admitting Martinez’s out-of-


      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The Honorable Stephen A. Higginson, United States Circuit Judge for
the Court of Appeals for the Fifth Circuit, sitting by designation.
court statements; failing to provide a lesser-included-offense jury instruction;

violating Rule 11’s prohibition on judicial interference; and erroneously admitting

expert testimony. We have jurisdiction under 28 U.S.C. § 1291. Reviewing

constitutional challenges de novo, United States v. Singh, 995 F.3d 1069, 1080 (9th

Cir. 2021), and evidentiary challenges for abuse of discretion, United States v.

Johnson, 875 F.3d 1265, 1278 (9th Cir. 2017), we vacate Riggs’s conviction and

remand for a new trial.

      1.     The Confrontation Clause bars admission of testimonial out-of-court

statements by a non-testifying declarant. See Crawford v. Washington, 541 U.S.

36, 53–55 (2004). A statement is “testimonial when the circumstances objectively

indicate that there is no [] ongoing emergency, and that the primary purpose of the

interrogation is to establish or prove past events potentially relevant to later

criminal prosecution.” Davis v. Washington, 547 U.S. 813, 822 (2006). A

conversation “which begins as an interrogation to determine the need for

emergency assistance” can “evolve into testimonial statements,” once the ongoing

emergency ends. Id. at 828 (cleaned up).

      Here, the district court admitted officer testimony and body-cam footage of

two prior instances where Martinez told officers that Riggs allegedly assaulted

him. The objective circumstances indicate that the primary purpose of the officers’

interrogation of Martinez was “to establish or prove past events potentially



                                          2
relevant” to a prosecution against Riggs. Id. at 822. Both encounters involved

officers calmly questioning Martinez about “past events” as opposed to “events

that were actually happening.” Id. at 827. At no point during these interrogations

did Martinez indicate that Riggs was a continued threat to anyone, and Martinez

was alone with the officers and safe from harm during the questioning. And even

if there was an ongoing emergency when the officers initially arrived on the scene,

by the time Martinez identified Riggs as the assailant, it was clear that “what

appeared to be a public threat [was] actually a private dispute” with no ongoing

emergency. Michigan v. Bryant, 562 U.S. 344, 365 (2011). Therefore, the district

court was required “[t]hrough in limine procedure” to “redact or exclude the

portions of [Martinez’s] statement[s] that have become testimonial, as [courts] do,

for example, with unduly prejudicial portions of otherwise admissible evidence.”

Davis, 547 U.S. at 829. The district court failed to do so, instead categorically

admitting the entire conversations under the belief that there was an ongoing

emergency. Accordingly, the district court erred by admitting Martinez’s

testimonial statements.1

      The government failed to demonstrate that this error was harmless beyond a

reasonable doubt. See United States v. Nguyen, 565 F.3d 668, 675 (9th Cir. 2009).


      1
        On remand, the district court should carefully parse through the testimony
to determine, on first instance, which of the statements, if any, may not violate the
Confrontation Clause under the guidance we outlined above.

                                         3
The district court described this case as “circumstantial” with “a lot of missing

pieces,” highlighting the lack of a “theory of how the defendant allegedly

murdered the victim,” and the missing murder weapon. In contrast, the erroneous

admission included a play-by-play breakdown of prior assaults on the victim

supplemented by video evidence and two officers’ testimonies. These

admissions—highlighting in detail Riggs’s prior assaults—were presented to the

jury at the end of a seven-day trial. Although the district court provided a limiting

instruction, the jurors may have walked into the deliberation room focused on

Riggs’s prior bad acts instead of the evidence tying Riggs to the crime alleged. Cf.

Nguyen, 565 F.3d at 675. Therefore, we vacate Riggs’s conviction and remand for

retrial.

       2.    The district court abused its discretion by admitting Martinez’s

statements under the excited utterance, medical diagnosis, and residual catch-all

hearsay exceptions.2 We address each one in turn.3 First, an “out-of-court


       2
         Similar to the Confrontation Clause analysis, we have difficulty assessing
the district court’s broad conclusions regarding the hearsay exceptions. We
therefore do not categorically conclude that none of the hearsay exceptions could
apply to any statements. On remand, the district court should proceed through the
body-camera footage on a statement-specific basis, to determine which hearsay
exception is tethered to individual statements or categories of statements.
       3
         The government forfeited any argument that Martinez’s statements are
admissible under the present sense impression exception, Fed. R. Evid. 803(1), by
not raising the issue in its answering brief. See United States v. Dreyer, 804 F.3d
1266, 1277 (9th Cir. 2015).

                                        4
statement must be nearly contemporaneous with the incident described and made

with little chance for reflection,” to be admissible under the excited utterance

exception. Bemis v. Edwards, 45 F.3d 1369, 1372 (9th Cir. 1995); Fed. R. Evid.

803(2). On both encounters, it took officers and paramedics roughly ten to twenty

minutes to arrive on the scene, giving Martinez “ample time to reflect upon his

statements” before speaking to the police and paramedics; therefore, the excited

utterance exception did not apply. United States v. Faust, 850 F.2d 575, 586 (9th

Cir. 1988). Second, Martinez’s statements to the police were not made for the

purpose of medical treatment; therefore, we do not have any “assurance that the

statements are particularly likely to be truthful.” United States v. Kootswatewa,

893 F.3d 1127, 1133 (9th Cir. 2018); Fed. R. Evid. 803(3). With respect to

statements Martinez made to the paramedics, any statements identifying Riggs as

his assailant were inadmissible. While a domestic violence victim’s statements

identifying an abuser may be pertinent to medical treatment in some

circumstances, here there is no evidence that Riggs’s identity was relevant to the

paramedics’ treatment of Martinez’s various scrapes, bruises, and physical

ailments. See United States v. JDT, 762 F.3d 984, 1004–05 (9th Cir. 2014).

Lastly, the district court concluded that the body-cam footage gave Martinez’s

statements a “sufficient guarantee[] of trustworthiness” to be admissible under the

catch-all exception. Fed. R. Evid. 807. But a recording of a statement is not



                                         5
among the “rare[] and [] exceptional circumstances” necessary to invoke this

exception, and Martinez’s statements did not otherwise have the “circumstantial

guarantees of trustworthiness equivalent to those present in the traditional

exceptions to the hearsay rule.” Fong v. American Airlines, 626 F.2d 759, 763 (9th

Cir. 1980). Therefore, the district court erred by relying on the residual catch-all

exception. Id.

      3.     Riggs contends that the district court violated Federal Rule of Civil

Procedure 11(c)(1) (“Rule 11”) by improperly participating in plea discussions.

Because Riggs did not raise this issue below, we review it for plain error. United

States v. Bruce, 976 F.2d 552, 554 (9th Cir. 1992), abrogated on other grounds by

United States v. Davila, 569 U.S. 597, 610–12 (2013). We have “emphasize[d]

that Rule 11(c)(1) is intended to eliminate all judicial pressure from plea

discussions.” United States v. Kyle, 734 F.3d 956, 963 (9th Cir. 2013). Here, the

district court repeatedly inquired about any potential plea deals, including asking

the parties on the eve of trial if there was “any chance” they would file a notice of

intent to change of plea. While these statements came close to crossing the “line

into giving an express or implied judicial imprimatur,” United States v. King, 985

F.3d 702, 712 (9th Cir. 2021), the record does not show that they “shap[ed] plea

bargains or persuad[ed] [Riggs] to accept [any] particular terms.” Kyle, 734 F.3d

at 963 (quoting United States v. Frank, 36 F.3d 898, 902 (9th Cir. 1994)).



                                         6
Therefore, we find that the district court did not violate Rule 11.

      4.     Riggs also contends that the district court erred by refusing to give a

lesser included offense instruction of “voluntary manslaughter.” The government

does not dispute that voluntary manslaughter is a lesser included offense of

murder. See United States v. Anderson, 201 F.3d 1145, 1148 (9th Cir. 2000).

Therefore, the only question before us is whether the district court abused its

discretion in finding that a jury could not rationally find Riggs guilty of voluntary

manslaughter. United States v. Arnt, 474 F.3d 1159, 1163 (9th Cir. 2007). To

support a theory of voluntary manslaughter, there must be evidence of adequate

“provocation,” such “as would arouse a reasonable and ordinary person to kill

someone.” United States v. Wagner, 834 F.2d 1474, 1487 (9th Cir. 1987) (cleaned

up). We have found that “a physical altercation between two people can constitute

sufficient provocation to reduce second-degree murder to voluntary manslaughter,”

but there must be evidence of an altercation, and evidence that the altercation

provoked the defendant to kill. United States v. Roston, 986 F.2d 1287, 1291 (9th

Cir. 1993). No evidence was introduced at trial that Martinez did or said anything

to provoke Riggs to violence. Therefore, the district court did not err in finding

there was no evidence to support a voluntary manslaughter theory.

      5.     Lastly, Riggs contends that the district court violated the

Confrontation Clause by permitting an expert to testify using DNA profiles



                                         7
produced by other, non-testifying analysts. The Supreme Court recently addressed

this issue in Smith v. Arizona, 144 S. Ct. 1785, 1788 (2024). Should this issue

arise again, we instruct the district court to apply Smith on first instance.

      VACATED AND REMANDED.




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